                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: In Re: Oral Phenylephrine Marketing and Sales Practices
                                                           _____     Lit.                Docket No.:
                                                                                                       24-3296-cv
                                                                                                              ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

Name: Bryan F. Aylstock

Firm: Aylstock Witkin Kreis & Overholtz

Address: 17 E. Main Street, Ste. 200, Pensacola, FL 32502

Telephone: 850-202-1010
                    ___________________________                 Fax: 850-916-7449

E-mail: baylstock@awkolaw.com

Appearance for: Plaintiffs-Appellants
                                                         (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                        )
                                                         (name/firm)

G Substitute counsel (replacing other counsel:                         _______                                       )
                                                         (name/firm)

G Additional counsel (co-counsel with: Jonathan D. Selbin/Lieff Cabraser Heimann & Bernstein
✔                                                                                                                    )
                                                         (name/firm)

G Amicus (in support of:                                                                                             )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on                                                                                                    OR

G I applied for admission on                                                                                         .


Signature of Counsel: /s/ Bryan F. Aylstock

Type or Print Name: Bryan F. Aylstock
